     Case 2:14-cv-15947 Document 438 Filed 08/29/22 Page 1 of 3 PageID #: 11489




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OFWEST VIRGINIA

CITYNET, LLC, on behalf
of the United States of America,

         Plaintiff/Relator,

v.                                                           Civil Action No. 2:14-cv-15947
                                                             Judge John T. Copenhaver
FRONTIER WEST VIRGINIA, INC., a
West Virginia corporation, KENNETH
ARNDT, individually, DANA WALDO,
individually, MARK McKENZIE,
individually, JIMMY GIANATO, individually, and
GALE GIVEN, individually,

         Defendants.

                        STATE DEFENDANTS’ AND CITYNET, LLC’S
                            JOINT NOTICE OF SETTLEMENT

         NOW COME Defendants, Jimmy Gianato and Gale Given, by counsel, and

Plaintiff/Relator Citynet, LLC, by counsel, and jointly announce to the Court that these parties

have reached an agreement between them that would fully settle all claims against Jimmy Gianato

and Gale Given via compromise. This agreement still needs to be approved by the United States

of America. As such, the parties cannot, at this time, submit an agreed order on the settlement and

distribution and/or seek approval of the settlement. However, the parties are hopeful that such

approval from the United States of America will be given and that remaining issues on this

settlement can be resolved as early as the end of this week. Thereafter, the parties will notify the

Court that there is an agreement on the settlement and disbursement of the proceeds, and they will

file an appropriate motion seeking approval of the settlement and distribution of the same.




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CITYNET, LLC
By Counsel,

/s/ Rebecca Pomeroy___________
Rebecca Pomeroy (WVSB #8800)
BAILEY & GLASSER
P.O. Box 326
Bridgeport, WV 26330


and


GALE GIVEN AND JIMMY GIANATO
By Counsel,

/s/ Geoffrey Cullop
Geoffrey A. Cullop (WVSB #11508)
PULLIN, FOWLER, FLANAGAN, BROWN & POE, PLLC
901 Quarrier St
Charleston, WV 25301




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CITYNET, LLC, on behalf
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v.                                                          Civil Action No. 2:14-cv-15947
                                                            Judge John T. Copenhaver
FRONTIER WEST VIRGINIA, INC., a
West Virginia corporation, KENNETH
ARNDT, individually, DANA WALDO,
individually, MARK McKENZIE,
individually, KELLY GOES, individually,
JIMMY GIANATO, individually, and
GALE GIVEN, individually,

         Defendants.

                                 CERTIFICATE OF SERVICE

         The undersigned counsel for defendants, Jimmy Gianato and Gale Given, does hereby certify

on this 29th day of August, 2022, that a true copy of the foregoing "STATE DEFENDANTS’ AND

CITYNET, LLC’S JOINT NOTICE OF SETTLEMENT” was served upon counsel of record by

utilizing the CM/ECF filing system.


                                              By Counsel,

                                              /s/ Geoffrey Cullop
                                              Stephen M. Fowler (WVSB #5113)
                                              Geoffrey A. Cullop (WVSB #11508)
                                              Omar D. Ahmad (WVSB #10804)


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